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UNITED STATES DISTRICT COURT                                           ' 1-=   1    r.;(   ~   .   I l , ·,




SOUTHERN DISTRICT OF NEW YORK
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SEAN REILLY, individually and on behalf of
all other similarly situated,
                              Plaintiff,
                -against-                                                           17 CIVIL 2347 (NRB)

                                                                                           JUDGMENT
U.S. PHYSICAL THERAPY, INC.,
CHRISTOPHER J. READING, LAWRANCE
W. MCAFEE. JON C. BATES, and GLENN W.
MCDOWELL,
                      Defendants.
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                  It is hereby ORDERED, ADJUDGED AND DECREED: That for the

reasons stated in the Court's Memorandum and Order dated July 23, 2018, defendants' motion to

dismiss in its entirety with prejudice is granted, judgment is entered for defendants, and this case

is closed.


Dated: New York, New York
       July 24, 2018




                                                                      RUBY J. KRAJICK                         /


                                                                BY:
